       Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 1 of 20



                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

JULIAN JACKSON                                                 * CIVIL ACTION
                                                               *
VERSUS                                                         * NUMBER: 16-13506
                                                                       *
UPS GROUND FREIGHT, INC.                                       * JUDGE:
                                                               *
                                                               * MAG. JUDGE:
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *******
                                           COMPLIANT

   Plaintiff, Julian Jackson (Jackson sometimes hereinafter), is a citizen of the United States of

America and a resident of the Parish of Orleans, State of Louisiana and for causes of action

alleges as to the defendant(s) as follows:

                                                 1.

   Made defendant herein UPS Ground Freight, Inc. (UPS Freight, or UPS sometimes

hereinafter), on information and belief a foreign corporation organized in the state of Virginia

and having its principal place of business in Atlanta, Georgia, and licensed do and doing

business in the Parish of Orleans, State of Louisiana.

                                                 2.

   Jurisdiction is vested in this court pursuant to 28 U.S. Code Section 1331 as there are matters

that arise under federal laws of the United States, Title VII of the Civil Rights Act of 1964 and

1991, as amended, Section 701 et seq. and all anti-discrimination provisions and 42 U.S.C. §

2000e et seq., (“Title VII), 42 USC 1981 42and reasonable attorney's fees as part of the costs

pursuant to 42 U.S.C.A. § 1988.




                                                 1
       Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 2 of 20



                                                3.

   Julian Jackson is an African American male with a bachelor of science in accounting from

Southern University at New Orleans has been driving commercial vehicles since 1998, about 18

years, and working in the freight industry about 25 years.

                                                4.

   In April 2006, Julian Jackson was hired as a driver by United Parcel Services of America, Inc.

– UPS Ground Freight (UPS Freight, sometimes hereinafter).

                                                5.

   Since 2012, Julian Jackson has been constantly subjected to discrimination, harassment, and a

hostile work environment by terminal managers at UPS Freight.

                                                6.

   Between April 1, 2012 to July 5, 2012, Mike Lee (WM) UPS Fright terminal manager,

subjected Jackson to constant harassment, discrimination, a hostile work environment and

terminated him on July 5, 2012, so, charges of discrimination were filed on July 23, 2012 with

the Equal Employment Opportunity Commission, EEOC Charge No. 461-2012-01567.

                                                7.

   In 2012, before Mike Lee terminated Jackson, Rogest Montegue informed Jackson that Mike

Lee was sabotaging his route which gave Lee an excuse to write Jackson up for untimely

deliveries.

                                                8.

   Jackson appealed the discharge and had to be reinstated after filing the EEOC charge and a

hearing with the union and UPS.



                                                2
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 3 of 20



                                               9.

  Jackson returned to work on or about October 1, 2012, and after he returned to work, he was

constantly harassed and retaliated against by Mike Lee (WM) and his replacement, Chris Rivette

(WM), terminal manager, then later by his replacement, Thaddeus Theriot (BM), terminal

manager, who had only been in the position for about two months; when, he terminated Jackson

on December 9, 2014.

                                               10.

  After Julian Jackson returned to work in October 2012, he was subjected to constant

harassment and a discriminatory, retaliatory hostile work environment in the following

nonexclusive particulars:

   a) Julian Jackson was assigned to a congested city route that required him to drive a small

       trailer truck.

   b) Several times in 2013 and 2014, Chris Rivette (WM), terminal manger, assigned Jackson,

       through supervisors, to larger trailer trucks that were not conducive to a congested city

       route, uncomfortable to drive, and exposed him to a greater risk of accidents.

   c) At UPS Freight, routes were selected by seniority and a bid process; however, after

       October 2012, Jackson’s bided route was routinely dissolved, forcing Jackson to take a

       route he was not contracted to make and designed to make him uncomfortable; although

       before management was forced to return Jackson to work in October 2012, his route was

       almost never shut down, and on the rare occasion that it was changed prior to October

       2012, the terminal manager rotated route shut-downs between drivers.




                                                3
     Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 4 of 20



d) After returning in October 2012, Jackson’s route trailer was regularly loaded wrong,

     forcing him to unload and reload the trailer; therefore, delaying his departure, and despite

     complaints to the terminal manger, nothing was done.

e) In driver meetings, Kris Daniels (BM), dispatcher/ assistant terminal manger,

     acknowledged that Jackson’s route was intentionally loaded wrong, but that’s the way

     Mike Lee instructed them to load his truck, and it became obvious that Lee was setting

     Jackson up to fail.

f) Damages were made to Jackson’s assigned tractor trailer by other UPS Freight

     employees; however, despite reports by Jackson to Chris Rivette (WM), terminal

     manager, he refused to investigate in accordance with company policy to determine who

     had the vehicle before Jackson and caused the damage, but he required Jackson to take

     the truck to the shop and have it straightened out.

g)     Mike Lee (WM) misrepresented the character and attendance of Jackson and sent UPS

     inaccurate, false, and misleading information on him in a certified letter to he and UPS

     referencing a warning letter about him meeting with him about unacceptable attendance;

     however, Lee never met with Jackson even one time about unacceptable attendance, and

     when Lee was questioned in the presence of Troy Stephens (WM), driver, Lee could not

     name one time that he had met with Jackson about unacceptable attendance; then

     admitted that he had printed the letter from a standard form off the computer, but he left

     the inaccurate he letter in Jackson’s personnel file to damage his work record.

h) UPS driver Frank Amato (WM) told Jackson after his 2012 termination, that he had

     observed that UPS was only firing black drivers and harassing black drivers, and he said

     “this is racism” and suggested that Jackson go to EEOC.

                                               4
        Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 5 of 20



   i) UPS driver John Scott told Jackson that UPS terminal manager Mike Lee (WM) cannot

        handle an educated black man.

   j) Steve Sorrell also told Jackson that UPS terminal manager Chris Rivette tried to fire him

        under false pretenses.

   k)      For the six years that Julian Jackson worked at UPS Freight, before Mike Lee became

        terminal manager, Jackson had never been cited or reprimanded by the previous terminal

        manager for unacceptable attendance.

                                                       11.

   On August 14, 2014, Julian Jackson received a right to sue letter from the EEOC for Charge

No. 461-2012-01567 that gave him 30 days from receipt to sue UPS on or about November 14,

2014.

                                                 12.

   Although Jackson was being subjected to a hostile work environment and acts that he deemed

retaliatory, he had been reinstated, paid back pay, not been suspended, or terminated again, and

had not lost any wages; so, he decided not to file a lawsuit after receiving the right to sue letter.

                                                 13.

   However, less than 30 days after UPS realized that Jackson opted not to file suit on EEOC

Charge No. 461-2012-01567, he was terminated on December 9, 2014.

                                                 14.

 In the fall of 2014, Thaddeus Theriot (BM) replaced Mike Lee (WM) as terminal manager; so,

Jackson thought the harassment would stop, but later learned that Thaddeus Theriot was a figure

head being controlled by Lance Laurent (WM), Labor Manager, and the retaliation, harassment,



                                                   5
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 6 of 20



disparate treatment continued after Jackson failed to file suit against UPS on the first charge of

discrimination.

                                                15.

   The week before Jackson was terminated, Jackson was delivering a 2000 lb. freight and was

told by the customer that they couldn’t take it for an hour. When Jackson called Kris Daniels

(BM), dispatcher, he told Jackson to return to the terminal; so, he returned to the terminal to have

the load unloaded, as directed and was on the dock helping to unload it, but there is nowhere to

enter the return t terminal on the computer. Despite the fact that the UPS computer system does

not show return to the terminal, unless all loads have been delivered on the truck, a few days

later, Jackson was attacked by Thaddeus Theriot, terminal manager, for dead time.

                                                16.

   On Monday, December 8, 2015, the day before Jackson was terminated, he was called to the

terminal manager’s office about delays that were beyond his control.

                                                17.

   On Tuesday, December 9, 2014, Jackson brought it to the attention of his immediate

supervisor, Rogest Montegue (BM) (“Ro”) that the load on his truck was loaded backwards

again, and Ro directed Jackson to reload the freight correctly before leaving.

                                                  18.

     Kris Daniels (BM), assistant terminal manager/dispatcher, had observed the harassment

   and retaliation and had told Jackson that he noticed that despite what was going on with his

   truck being loaded incorrectly, Jackson was one that did not argue about his freight not being

   loaded properly and just reorganized it; so, he commended Jackson on this, and Jackson

   responded that he didn’t because he had a job to do and respected the workers on the dock.

                                                 6
       Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 7 of 20



                                                19.

      Other drivers, including Rodger Coney (BM), commented to Jackson how they observed

   that he was one of the only drivers that never fussed and cussed when his trailer was loaded

   wrong.

                                               20.

   In the process of Jackson reloading the freight, Thaddeus Theriot (BM) came in the trailer and

scolded him for reorganizing the truck; although his immediate supervisor, Ro Montegue, had

authorized the reload. The terminal manger began fussing at Jackson for reloading the truck and

told him to leave with the freight and reorganize it on the dock of one of the customers that

Jackson would be delivering to that day.

                                               21.

   Having been in the freight delivery business for nearly 25 years, Jackson was well aware that

customers do not want UPS drivers tying up their docks; when, they make deliveries, want the

UPS delivery dropped off, and UPS trucks to move on for other trucks making deliveries; so,

Jackson tried to explain this to Theriot.

                                               22.

   Theriot, terminal manager, then, ordered Jackson to come to his office.

                                               23.

   Jackson agreed to the directive of his immediate supervisor but requested that in accordance

with the national labor union agreement and his membership in International Brotherhood of

Teamsters, Local Union 270 that he have a union representative of Jackson’s choosing present.

                                               24.



                                                7
       Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 8 of 20



   However, Theriot, terminal manager, insisted that Jackson bring Troy Stevens (WM), shop

steward, into the meeting as his union representative.

                                               25.

   Due to Jackson’s past knowledge and experience, he knew that management preferred to have

Stevens (WM) in the meetings because Stevens more often than not sided with management and

against the drivers.

                                               26.

   To confirm that he had the right to have a representative of his choosing present, before he

met with the terminal manager, Jackson called Abe Serta (WM) at the local union, and he

confirmed that Jackson had a right to choose his representative and that Jackson should request a

waiver form to waive the union steward being in the meeting.

                                               27.

    Theriot, terminal manager, did not have the waiver form; so, Jackson had to go to Kris

Daniels, assistant terminal manager/ dispatcher (BM), and he gave Jackson the waiver form.

                                               28.

  In accordance with the Union/UPS labor agreement procedure, Jackson signed the form and

brought it to the office of the terminal manager; who, then, told Jackson that he no longer wanted

to talk to him because he had talked to Lance Laurent, (WM) Labor Manager, and he had

directed Theriot to fire Jackson.

                                               29.

   It became apparent that Theriot did not have independent decision making authority and that

Thaddeus Theriot (BM) was a figure head being controlled by Lance Laurent (WM), Labor

Manager.

                                                8
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 9 of 20



                                               30.

   Since there was no reason for the termination, the union hall representative contacted Theriot,

terminal manager, who would only allege that the termination was for adverse behavior.

                                               31.

   Jackson later received a letter dated December 10, 2014 that falsely alleged a meeting had

occurred and that Jackson was being terminated as discussed at the meeting for “offenses of

extreme seriousness”, and the letter gave no further explanation.




                                               32.

   Jackson was targeted by management, and subjected to a hostile work environment and

retaliation for three years after filing an EEOC charge for racial discrimination against UPS and

never provided a specific detailed reason for his termination; so, Jackson can only assume that

the pretext reason that Lance Laurent (WM), Labor Manager directed Theriot to terminate him

was regarding the exchange that he had with terminal manager, Theriot, about loading the truck

on a customer’s dock and exercising his right to have a union representative of his choosing

present at a meeting with the terminal manager.

                                               33.

   Although there were four (4) to five (5) drivers that were willing to appear at the UPS and

labor union hearing to speak about how Caucasian drivers constantly argued with and cursed out

management but were not terminated, Keith Porter (BM) called Jackson at home, after his

termination, to advise that the union and management were conspiring against him and that the



                                                  9
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 10 of 20



union and management would not allow Jackson to get statements or call witnesses to testify

about the disparate treatment between black and white drivers.

                                               34.

   However, UPS management got statements from other employees and used them against

Jackson at the hearing.

                                               35.

  The retaliation, harassment and hostility towards Jackson by UPS management continued

during the labor and management hearing; in fact, Jackson’s first union/management hearing was

scheduled for 9:00 a.m. and Lance Laurent (WM), Labor Manager, management, conspired with

the union to push the meeting back to 1:00 p.m. after all drivers that could have testified for

Jackson left the terminal; so, Jackson objected to the hearing being rescheduled to 1:00 p.m.

                                               36.

  The labor/management hearing was rescheduled for another day at 9:00 a.m., and again

management and the union conspired to delay the hearing until about 10:30 a.m. after drivers

that could have spoken about the disparate treatment of black and white drivers were gone on

their routes.

                                               37.

   Multiple employees advised Jackson that he was being targeted by management including the

following:


    a. Teamster 270 business manager, Steve Sorrell (WM) told Jackson that he was being

        targeted by UPS management and that “UPS don't give a f*** about you”.

    b. Drivers, Edward Cooper, Joe Jones, and John Scott told Jackson that they were aware

        that he was being targeted.
                                                10
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 11 of 20



   c. Kris Daniels (BM), assistant terminal manage/dispatcher, told Jackson that he was

       targeted by UPS Freight and that they were out to get him. Kris Daniels confirmed this

       statement.

   d. In January 2015, in the local union meeting, in the presence of UPS Management and

       Union Hall representatives, Kris Daniels (BM), assistant terminal manage/dispatcher,

       acknowledged that Jackson was being targeted by UPS management.

                                                  38.

       There is a pattern and practice of UPS terminal managers and labor mangers, applying

   UPS policies differently to African American employees then to Caucasian employees.




                                                  39.

       The harassment and hostile work environment was so evident to Jackson and other

   African American drivers that on two occasions, fellow driver, Robert Bird (BM) commented

   that the black drivers needed to file a racial discrimination lawsuit.

                                                40.

   Since being employed at UPS, Julian Jackson has observed and been told about observations

of others how black drivers are treated differently from similarly situated white drivers, including

but not limited to the following situations:

   a. Jackson has observed how black drivers are constantly called into the office and written

       up and white drivers are called in far less, and even Rogest Montegue, Jackson’s former

       supervisor, confirmed to Jackson that black drivers were definitely called into the office

       more than white drivers.

                                                11
  Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 12 of 20



b. Frank Amato (WM) driver even nick named Darren Bourg (WM), driver, “Rottweiler”

   because of Darren’s loud belligerent behavior always cussing and fussing with

   management about his freight.

c. Many other drivers, including but not limited to Kelvin Isaac (BM), Robert Bird (BM),

   Keith Porter (BM), Joe Jones (BM), John Scott (BM), Roderick “Roger” Coney (BM),

   and Kenneth Douglas (BM), witnessed Darren Bourg (WM) and Timmy Dodd (WM)

   constantly fussing about their load being incorrectly loaded and even cursing at

   management; yet, the Caucasian employees were not suspended or terminated for their

   belligerent behavior.

d. Jackson also witnessed the belligerent behavior of Darren Bourg (WM) and Timmy Dodd

   (WM) constantly fussing about their load being incorrectly loaded and even cursing at

   management; yet, the Caucasian employees were not suspended or terminated for their

   belligerent behavior.

e. On one occasion, Jackson even witnessed Timmy Dodd (WM) driver, throwing his clip

   board on the counter in the office because he was so upset that his load was incorrectly

   loaded. He did this in the presence of office employees.

f. Additionally, Raymond Green (BM) dock worker, and Dwayne Williams (BM), former

   dock worker, have shared observations of how Darren Bourg (WM) and Timmy Dodd

   (WM) drivers frequently fussed and cursed about their loads be loaded incorrectly.

g. Mike Lee recommended Jackson’s termination on July 5, 2012 for allegedly having an

   unreported accident/damage to my truck; although Jackson did not have an accident,

   noticed damage to the truck, and self-reported the damage; however, Caucasian drivers

   have had accidents, damaged company trucks, lied, and no action was taken against them.

                                          12
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 13 of 20



   h. Timmy Dodd (WM), driver, wrecked a tractor truck under Joe Redding (WM) terminal

       manager; yet, no suspension or termination was applied to this driver by UPS.

   i. Kenny Bischoff (WM), driver, wrecked a trailer under Mike Lee (WM) terminal

       manager; yet, no suspension or termination was applied to this driver by UPS.

   j. Troy Stephens (WM), driver, wrecked a tractor truck twice in one week, under Chris

       Rivette (WM) terminal manager. Troy did not report the first wreck until two days after

       the wreck; yet, no suspension or termination was applied to this driver by UPS.

   k. Allen Freeman (WM), driver, had four accidents in a short period, under Chris Rivette

       (WM) terminal manager; yet, no suspension or termination was applied to this driver by

       UPS.

   l. Charlie Wraggie (WM), driver, had an accident, under Chris Rivette (WM) terminal

       manager; yet, no suspension or termination was applied to this driver by UPS.

   m. When Chris Rivette (WM) was terminal manager, Troy Stephens (WM), driver, punched

       Raymond Spicuzza, Jr. (WM), driver.            Fighting among employees is grounds for

       immediate termination according to UPS policy; however, no suspension or termination

       was applied to these drivers by UPS.

                                                 41.

   For about a year after Jackson’s December 2014 termination, he tried to find permanent

employment and learned that former UPS terminal manager, Mike Lee (WM), had retaliated

against him by calling other freight companies to tell them not to hire him.

                                                42.

   Dwayne Williams told me that drivers from R & L told him that Mike Lee called their had

terminal manager and told him not to hire Julian Jackson if he called looking for a job.
                                                13
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 14 of 20



                                                43.

   Jackson applied to several employers based on the representation by dispatchers that they

need drivers, but when he put in applications and showed up, he was constantly told that the

positions are filled, or we are not hiring.

                                                44.

   In 2015, Jackson went to Saia Freight based on a lead from a dispatcher, Clarence, that Saia

Freight was hiring and needed about four (4) drivers, and when, I put in an application and went

for an interview with the terminal manager, he confirmed that that they were hiring; then, later he

was told that all positions had been filled.



                                                45.

  The retaliatory conduct continued to be an issue with Jackson’s ability to find permanent

employment.

                                                46.

   At all times, Julian Jackson was qualified for his job.

                                                47.

  The pattern and practice of Thaddeus Theriot (BM), terminal manger, conspiring and being

controlled by Lance Laurent (WM), Labor Manager and the continued impact of retaliatory

conduct of Mike Lee (WM), employees and agents of UPS, against Plaintiff, Julian Jackson,

constitutes unlawful discriminatory and retaliatory employment practices.

                                                48.

  The employer(s), UPS, is responsible for its employees and agents under the doctrine of

respondent superior.

                                                 14
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 15 of 20



                                                       49.

   On May 4, 2016, the U. S. Equal Employment Opportunity Commission issued a Dismissal

and Notice of Rights letter in connection with Charge No 461-2015-02061 that specifically notes

the allegations charged as continuing violations. (See Exhibit “1”)


                                                  50.

   The basis for the EEOC complaint, alleged violations of federal and state causes of action are

as follows:


       a. Being subjected to different terms and conditions of employment;

       b. Creating a hostile work environment;

       c. Harassment;

       d. Retaliation for complaining of discrimination and retaliation;

       e. Giving a pretextual reasons for discrimination, retaliation, creating a hostile work

              environment and, harassment;

       f. Any and all other violations of the Civil Rights Act, and acts of conspiracy,

              intentional discrimination, harassment, and retaliation that may be proven at the trial

              of this matter.

                                                   51.

   As a result of the wrongful discrimination, retaliation, harassment, and hostile work

environment, Julian Jackson has sustained significant emotional distress, loss of enjoyment of

life, mental anguish, loss of benefits, loss of earnings, and any and all damages allowed by law.

                                    FIRST CAUSE OF ACTION




                                                  15
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 16 of 20



     TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 AND 1991, AS AMENDED,
      SECTION 701 ET SEQ. AND ALL ANTI-RETALIATION PROVISIONS OF

                                   42 U.S.C. § 2000E ET SEQ.

                                                 52.

   Plaintiff realleges and incorporates herein by reference paragraphs 1 through 51 of this

complaint and incorporates the same as though fully set forth herein.


                                                 53.


   The pattern and practice of discrimination, harassment, and retaliation against Plaintiff, Julian

Jackson (BM), violated Title VII of the Civil Rights Act of 1964 and 1991 as amended, 42 U.S.C.

§ 2000e et seq., which prohibits discrimination against any person with respect to terms,

conditions or privileges of employment because of an individual's race, color, religion, sex, or

national origin and prohibits retaliatory conduct for participating in protected activity.

                                                 54.

   As a result of the violations of the Civil Rights Act of 1964 and 1974, as amended, Julian

Jackson (BM) is entitled to back pay, reinstatement or front pay and or compensation for all

employee benefits lost as a result of the violations of the Civil Rights Act of 1964 and 1991, as

amended, attorney fees and costs, as well as compensatory and punitive damages in accordance

with applicable law.

                                 SECOND CAUSE OF ACTION
                                      42 U.S.C. § 1981

                                                 55.

   Plaintiff realleges and incorporates herein by reference paragraphs 1 through 51 of this

complaint and incorporates the same as though fully set forth herein.


                                                 16
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 17 of 20



                                                56.

   The pattern and practice of discrimination, harassment, and retaliation against Plaintiff, Julian

Jackson (BM), violated 42 § 1981 which states that every person in the United States shall have

the same rights as white citizens regarding “the making, performance, modification, and

termination of contracts, and the enjoyment of all benefits, privileges, terms and conditions of

the contractual relationship.”

                                                57.


   As a result of the violations of 42 § 1981, Julian Jackson (BM) is entitled to back pay,

reinstatement or front pay and or compensation for all employee benefits lost as a result of the

violations 42 § 1981, attorney fees and costs, as well as compensatory and punitive damages in

accordance with applicable law.

                                  THIRD CAUSE OF ACTION
                                   LA.-R.S.A 23:301 ET SEQ.


                                                58.


Plaintiff realleges and incorporates herein by reference paragraphs 1 through 51 of this

complaint and incorporates the same as though fully set forth herein.


                                                59.


  La.-R.S.A 23:301 et seq., LSA-R.S. 23:312, that prohibits discrimination against any

employee on the basis of race and provides that an employer may not fail or refuse to hire, or to

discharge, any individual or otherwise discriminate against any individual with respect to his

compensation, or his terms, conditions, or privileges of employment because of the individual's

age or limit, segregate, or classify his employees in any way which would deprive or tend to
                                                17
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 18 of 20



deprive any individual of employment opportunities or otherwise adversely affect his status as an

employee because of the individual's race.


                                               60.


   As a result of the violations of La.-R.S.A 23:301 et seq., LSA-R.S. 23:312, Julian Jackson is

entitled to compensation for all violations of law, reinstatement, promotion, past physical pain

and suffering, future physical pain and suffering, medical expenses, loss of earnings, loss of

future earnings, loss of earning capacity, loss of enjoyment of life, permanent disability to the

body, compensatory and punitive damages, attorney fees and costs, together with expert witness

fees and legal interest, damages in accordance with applicable law.


                                 FIFTH CAUSE OF ACTION

                                LA. REV. STAT. ANN. 51:2256


                                               61.


  Plaintiff realleges and incorporates herein by reference paragraphs 1 through 51 of this

complaint and incorporates the same as though fully set forth herein.

                                               62.


    La. Rev. Stat. Ann. 51:2256 makes it unlawful for an employer to retaliate or discriminate in

any manner against a person because he has opposed a practice declared unlawful by Title 23 of

the Louisiana Revised Statutes of 1950, as amended or because he has made a charge, filed a

complaint, testified, assisted, or participated in any manner in any investigation, proceeding, or

hearing of Title 23 of the Louisiana Revised Statutes of 1950 as amended.



                                               18
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 19 of 20



                                                  63.


   As a result of the violations of law, Julian Jackson is entitled to compensation for all

violations of law, reinstatement, past physical pain and suffering, future physical pain and

suffering, medical expenses, loss of earnings, loss of future earnings, loss of earning capacity,

loss of enjoyment of life, permanent disability to the body, compensatory and punitive damages,

attorney fees and costs, together with expert witness fees and legal interest, damages in

accordance with applicable law.


                                                  64.


    Julian Jackson is entitled to and prays for trial by jury.


   WHEREFORE, petitioner, Julian Jackson prays that the defendant, UPS Ground Freight,

Inc., herein be served with a copy of this Complaint and that they be duly cited to appear and

answer same, and that after due proceedings had there be Judgment in favor of your petitioner,

Julian Jackson against defendant, UPS Ground Freight, Inc., for the sum of all damages as

may be proven by the plaintiff in this matter, all reasonable compensation, for all losses and

damages allowed pursuant to law, together with legal interest thereon from the date of judicial

demand until paid and for all costs of these proceedings including expert witness fees. Petitioner

further prays for all general and equitable relief as the nature of the case may permit and that

there be trial by jury.




                                                  19
      Case 2:16-cv-13506-JCZ-JCW Document 1 Filed 08/02/16 Page 20 of 20



                                     RESPECTFULLY SUBMITTED,

                                     /s/ Wanda Anderson Davis

                                     __________________________________________
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                                     Attorney for Plaintiff


Service to Be Made
UPS Ground Freight, Inc.
Through its agent for Service of Process
Corporation Service Company
Bank of America Center, 16th Floor
1111 East Main Street
Richmond VA 23219




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